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Don J. Lewittes, Ph.D.

30 Hernpetead Avenue
Sulte # 150

Fiockvl|le Gentre, N.Y. 11570

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CONnrDENTrAL AND ParvlLEGED
Eocanein.Evaluattnn.Benm

RE: Mr. Mlchael Fleiner

BBdSQi.QLDd

lwae contacted m Mr. Ft. Sohoenberg, Esq. and asked to evaluate his
client Mr. Fleiner. Basici ' eurmmding his anest end incarceration were
made available to me.

0n12/14/061wem to the Naseau coun%.rau in East Meadow, New York and
evaluated Mr. Reiner tor approximater 2 and 1 hours. | performed a mental status exam
(MSE), administered the normed and computer scored MCMl-i|i and SCL-QO-R, and
analyzed his responses to protective cards and pictures contained in the Florschach and
111ernatic Apperception TeastnngH. This battery of tests is well accepted by the
professional psycholome formslc community as a complete and thorough scientific
detemtinalion of mental stability lndudhg the potential for dangerousnese.

Mr. Fleine_r appeared uncle ndably shaken and upset given the setting he
was in. He was cooperative with _ tests and open to quemione posed to him.
His responses are considered reliable and the test results veiid.

 

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Fleiner, pg. 2
mmntEast_i~l`mm
A. Predlctors Fteiated to the Poterttial For triclenoe

Thedlnlcalamiachtaialitereueonvbiencedear%emmshetesmata historyoi
violence is the best predictoi‘ot any future potential ere have never beena
norevenaltegattonsotvtoienoemade ainstMr. Fleiner. Thishistorylncii%s
domesticalli.iations,hundredsotcbntactswithchi renoiallmes andln hlseveryday
%“”°§iiii*s"°m'w"»iim has "°"’°i'§"s‘° i‘i‘i£'ié“i;""` °' '“a‘ili'°°‘“ii§i
or ' r ave a pu ic at rig
such as ln a movie theater, l-le holds a NH. S. drivers?igcense endtltere have rieger been
any violations, suspensions or problems with the operation ot his vehicle

l-iehashelda Bcehseandtaughtinaprlvateschoo|forover
18 years. There have never rt ciany employment problems l~ie is a well
respected mentor with hundrede parents, colleagues1 and fenner students
whomnaiieniohiskindnessandgeniiedisposiiion

As a youth and adolescent\Mr. Fteiner shows a history ot positive adjustment at
home inschoolandwtthlntheconlirnunltyatlar ar.e l-iedoesuseeltheraicoholcrdnige.
Hehasneverbeenireatedfor,orlil nosedw' anypsychiatricltiness.
i-le has never shown any problems impulse control including areas cf :Yserany
management or sexuality. He demonstrates the capacityfor empathy andt
correspondence to a psychopatth personality disorder. i-ie has never previously anyl:)een
arrested or had any problems ct any kind with the iaw. t-te is considered mentally
and emotionally stable and does riot demonstrate lliness.

Heisnotememi:ierorany roupwhlchendorsesany antisocialorviolent
actions ainst cliildren, adults. o;§:liticai entities He hasany a strong personal slipped
with iivingintheimn'iedl mity_.lisotherthanthislegalsituation, hedoes
not have an excemive amount ot dailyslress mm¥-lisfinances are in order. he has been
continuost employed and has never been asked to leave any position dating back to
his masters level student teaching experiences some twenty years ago.

B. Cltnlcal Functionlng with Specilit: Aseessnmm of Sexud Parephillas

Mr. Fleirier' s cognitive status demonstrates contact with reality There

are no signs or symptoms ct any nderlying pay otto processes He does not
havehelluclnationsordeti.isions reis noparanoid idealion. Hisatiectisappropriate
andtherearenosymptomsoieimumood regulationdiitlwlnes. Hehasnohistoryof
manta or any symptom s of ace s depressive disorder. His sleeping, eatl and
biological functioning are regular andwithout any noted' issues He has energy
‘"°"‘He d a"‘* °"' '°““"°s ”i‘i“tl.",t‘.“i'° ‘*‘e ""'““‘ph.,.,t;:t'is"°°im,lm"°°““h. i"li,‘i‘?'°°“~

oesnot aveapan norany s a vrrig
romines. Heis to hlslinances.Thereisnosuicideiorhomicldal
ldeation. intent or p .l-le has lo term social relationships which demonstrate his abillty
toempelhizeand appropridety conducthimseitwilhchlldrenand adults

 

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Flelner, pg. 3
Mr. Fteiner denies any sexual interestl arousal, or behaviors with any gerson below
the legal e of consent He adamantly denies ever viewing any photos or v dec clips
involving i|dren in suggestive nitide poses cr aged in sexual activities He denies
everwantingorplanningthe physbal hai'mor _ to anychlid in anyreallty context,
e.¢., he is repulsed by the acti.ial practice ct cannibalism.

Mr. Flelneradmltstchavl an adivetantasyliiewiih allteraiyinterestinthe
pcrtraalctchlldrenbeingend andthreateried sacriticialriti.ialisticactect
canni lism and how they are to sunrlve this circle . He cites this ldeatlon being initially
fueled by reading the literary works of .ionathan Swift who many are ago used such a
in his ‘ of political satire. Nk. Fteiner was `ng the subject with
plans to write a ncve.

Mr. Fleiner’s role playing width others about this topic ls comparable to people
who go to “star trek" conventions or those who dress in medlevai garb and play out
scenarios at ieslivals. in parallel whion, such people do not go home and continue in
real liiebehavingas liiheywerebad<intimeoronanotherplanet.

Qase.ttiseiiaaleu
Mr. Fteiner has a long ‘ interest in the topic of cann|balism. He has
never had any interest or intent in atty betiavlrig or consortl with people
who in real lite would behave in sich atashion. He is well gr in reality and would

neverconiusehistictionalinterestwidimededretcamcminanywayagainstdiluren.

Mr. Ftelner is a dedicated er. He has shown appropriate attention and
mentor ship tor many pupils over comes of a cai'eer. l-le refers to parents.
cc~workers, andionnerstudentsiilihowouid attestio ' characterand moral
conduct with children He does know when. how, cr by whom the alleged illegal images
ci yo children were transte on to his cornputer. He adamantly denies ever opening

any s liles or folders or viewing any computer images ct children in tiie nude cr engaged
in sexual acts.

moralessz

Mr. Fieiner does not demonstrate a diagnosis consistent with pedophitia. He
does not demonstrate any ry, hostile. or sadistic tendencies or acts toward children
He is a law abidi washer o has conducted himself in public and private with dignity and
respecitorothers. tactthatheisintiereslied inaidhasiesemdedapuiclarscence

hcgfio'rihiernecennmbeoanmamdintoviewinghirnasaper'sonwiihareallltedarigerous
pr e.

it is my professional oplnbn, within a reasonable degree of psychological
certainty, that Mr. Fteiner does not pose a real to an child or adult in tl'ie community

i 'i.._. 9-7__...-----

n .i. Lewittes. Ph.D.
N.¥.S. tic. Psyohologlst
Bd. Cert. Foiensic Examiner
Member, Nassau County Sex Ciriender
Steering Ccmrnittee

 

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DONJLJEW|T\'ES,PhD
Clinica| rand |Forens'ic :Psycholog\st

Enxare_€lt‘d§§

Edusetlgn
1971 'B. A.

1976 Ph.D.

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Departmerit oi `Psychiatry
~Piscataway, =Naw Jersey

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.:of Madica% Psychotherapista

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--Psyc:hologist
'New `Yom_'Sta`te #005681

 

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independent practice in lt':lini¢c:r=tl'-and "iorensic --psychology.

Family and Supl:\me Court- Fonna| evaluations,
Bsychologloal*te _ ng and experiwitness testimony.
ta based‘tore ic reports-for -uee;ln-cus'tody and visitation

. matters Subs ` aity in sexual abuse, neglectl violence

Criminal-Experi ness testimony and evaluations

The Ofiioe of thel _istrict Atilorney~all of N\'C,

Nassau, Sutiolk, Westchester. and Franklin Counties.
The lJ.S. Government, DetenseDept.~Ju Advocate
General’s Oilice', ladrninistrative Heari s, N\'PD,
Prlvate defense counsel trials, pre sen ancing, probation

traumatic stress ( D), sexual assault and

personal in}u . l E’s for insurance companies and private
counsel, inte{l¥gehoe and personality test ng ior courts,
schools and personal use

axan witness wstlmny in st and u.s. r-'ed. maria coun.
Psychotherapy-givate practice with a broad based

C.ivll matters- Te€'_r'% with reports- specializan in post

_ patient spectruml Ohildren, adults. and couples work.

ConsultanttTrainer - Coalition on Child Abuse and
Neglect CCAN),l Garden C`lty,_ _N.Y. Conducted
local a N.V.S. lwide training for professionals in
the evaluation acid treatment ot abusel lect
victims. Major responsibilities for two NY /DSS-
U.S. Departme of Justloe Act Grante: Forensic
interviewing T niques; Maie Vlotims-of Abuse.

Chiei Psyoho st. South Naesau Comntunities Hospital,
Oceanside, N. ,'- Evaluate and treat children, adults and
families Supervlse staff and train chology doctoral students
Head of P y-Famiiy Crisie eam, F\ape '_i'raurna Team.
Fami Practice edicai Residency Training, Utilization Fievlew,
Gren Flounds. t

 

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'Schenectady Shared ervices_,

Consuitant, Dept. of Nursing, ‘ ‘
St. John’s_E\piscopal Hospital,
Queens. N.

Consultant Psychologist. Evaluate
children and adolescents, HlP
Staten leland N.Y.

Administrative and clinical
team leadership, South Flichmond
inpatient Servlces, South Beach

Psychlatric csnter, s,i., N.Y.

Supervising Psycho ist, ,
coPc/Ems \Hospial, Alvany N.Y.

lnstructor, Dept. ct Psychiat
FullTime Faou ,Albany ical
Center, Albany, .Y.

Clinical Ai‘iiliate Protessor,

De -. of P hoiog , St. John’s
Ungrtarsity,sécueens¥ New York.

Mentor-'Adeiphi iJniv., Doctorate
Prog., Grad. Sch. oi Soc. Work

Affiiiete Faou . Center for
‘l'rainln And esearch in Child
Abuee' nd'Family Violenoe,
Fordham Univ. Graduate School
of Sooia| Servioe

 

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Presehtations _
2005~Appe ate Div. Supreme Court, 2nd Judlcal
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lnte wing Techniques with Chiidren
and Ndolesoents-Chlid Deve ment Data Based
2004-Mol Coilege-Child Sexuai buse
2004-St do n’s Unw. Law Schoo|-Expert Witnees
2003-St Jollin’s Univ. Law School-Citild Sexuel Abuse
2002-Appeilate Divs. First & Seoond Depts.. NYC
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with Witnesaes. N.¥.C.
2002-milo Coliege-Sexuai Assauit and Victimizataion
2001-Li Hosp., Psychlatry C-irand Ftounds,
FiapelTrauma Diagnosis and S ndrome
2001-me Univ., Chiidren Flrst, laid Presenter,
' Family Service Agencé,ot:{ueens N.Y.
2000- Longl island Col erence,Sex Teens &
Violence- Forens interviewing Techn|ques
2000-milo Ool -Male victims of sexual assaultlrape
1999-St. J n’s Un . Law School-Sexual Vlctimization
1998-Fordltam Unive -Child Victims of Sexual Abuse
1998-Meiiiilo Mental Hee Center-Adult Maie Victlms of
Sexuai Assault
tQQB-Nassau Coaiiiion on Child Abuse-Child
Victiniization
1997,98-St.' Jchn's Univereity Law Schooi-Forensic
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en
1996-Yeshiva unlversity, Ca`rdozo School ot Law,
Family Law Syrgposium, Panellst.
1996-Statelot New Y Uniiied Court System,
Famiiy Vloienoe Task Foroe, Presenter,
Child lAbuse Sexual Abuse Seminar, N.Y.C.
1996-New York State Dept. ot Social Servlces,
Children's Justioe & Assistanoe Act Sprin%Training
Semlnar. workshop Leader. Syracuse N. .
1996-Fordl‘lem University-Evaluetlon and treatment
of male victims of sexual abuee, N.Y.C. .
1995-Sevehth Annuai Conferenoe on Child Abuee and
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l Abuse and Pornograph ,
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New ?York State Graduate School, Fiesearch Grant
Fieseerch Grant; Rutgers Med. School
Adelphi University, Schooi of Social Work,
Worki in the field of victims of rape

and sexual abuse.
Moilqy College- Training award for forensic
wc.rkim the field of male sexual abuse.

E. !. H.|. ._

Who s Who in the Unlted States 2001-current ed.
Who s Who in the World, 1991-4,2002-current ed.
Whols Who in the East, 1991 »98

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FirstlEdition,iQQT-B., 2000, current ed.

Menlber, American Psyohologicai Society

Meniber, American Professional Society
on the Abuse of Chi|dren

Merhber, American Board of Forensic
Examiners

Listed, in the National Ftegistry ot

Forensic Examiners

Bscsni_&ssommisiimente

Nassau County Sex ¢thender Management Steering Committee-
Psychologist Flspresentative for the N.¥.S. Sex Oftender Court Grant

Presenter~ New York Prosecutors Training institute, Inc., Special

issues in S

'al Victlm Prosecutlon, Summer College for Dlstrict

Attorneys, he Mentaliy lii Sexuai Assauit Victim", Syracuse Law
Schoo|, August, 2006.

